RIBBON CLIFF FRUIT CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Ribbon Cliff Fruit Co. v. CommissionerDocket No. 12337.United States Board of Tax Appeals12 B.T.A. 13; 1928 BTA LEXIS 3619; May 18, 1928, Promulgated *3619  1.  The books of the petitioner having been kept on the accrual basis, the respondent's action in computing income for the taxable year on such basis was in accordance with the provisions of section 212(b) of the Revenue Act of 1921.  2.  Additional depreciation on the basis of a useful life of 18 years of the orchard of the petitioner on the amount of orchard costs used by the Commissioner in his determination of such depreciation already allowed.  3.  Credit against redetermined deficiency for the taxable year on account of overpayment of tax by the petitioner for a prior year for which no deficiency has been determined is an administrative matter controlled by the provisions of section 284 of the Revenue Act of 1926.  4.  Claim for credit for part payment of tax in the taxable year in controversy is within the jurisdiction of the Board and is a factor in the redetermination of the asserted deficiency.  Such payment was applied by the Commissioner in his determination of the deficiency in this proceeding.  Alfred Gfeller, Esq., for the petitioner.  J. E. Marshall, Esq., for the respondent.  LANSDON *13  This is an appeal from the determination*3620  by respondent of a deficiency in income and profits taxes for 1921, in the amount of $3,785.32.  The petitioner alleges that respondent erred, (1) in computing net income on the accrual basis; (2) in failing to allow credit for income and profits taxes paid for the year in question; and (3) in failing to allow a deduction for depreciation based upon the actual cost of its depreciable assets.  *14  FINDINGS OF FACT.  Petitioner, a Washington corporation with its principal office at Spokane, was incorporated in 1909, and is engaged in the fruit-growing business, principally apples and pears.  Prior to 1919, petitioner's books of account were kept according to the cash receipts and disbursement method of accounting; but since that year they have been maintained on the accrual basis.  Petitioner filed income and profits-tax returns for 1920 and 1921, in which the net income was computed on the basis of cash receipts and disbursements.  The return for 1920 showed a net income of $999.52 and no tax due, while that for 1921 showed a net income of $3,715.12 and a total tax liability of $171.51.  In 1925 petitioner's books of account for 1920 and 1921 were examined by a revenue*3621  agent, who, in his report to the respondent, computed the net income for both years according to the accrual method of accounting, and made certain other adjustments affecting the income and expense deductions of those years which are not disputed by petitioner and, therefore, are not material here.  The report of the examining officer shows a net loss of $7,309.33 and no tax due for 1920, and a net income of $16,774.40 and a total tax liability of $3,956.83 for 1921.  In 1925, and apparently after the revenue agent had completed his examination and submitted his report to respondent and with full knowledge of the contents of that report, petitioner caused an examination of its books of account to be made by an accountant, as a result of which it filed amended income and profits-tax returns for 1920 and 1921.  As in the case of the original returns, the net income in the amended returns was computed on the basis of cash receipts and disbursements.  The amended return for 1920 showed a net income of $7,043.59 and a total tax liability of $795.89, while that for 1921 showed a net income of $1,398.17 and no tax due.  The tax due for 1920, upon the basis of the amended return, together*3622  with a portion of the interest thereon, was paid to the collector by petitioner's check No. 2084, dated November 13, 1925, in the amount of $809.60; and the endorsements on the check evidence the fact that it has been paid.  A claim for refund, in the amount of $171.51, for overpayment of taxes based on the original return for 1921, has been filed by the petitioner and is pending in the Income Tax Unit.  The respondent approved the report of the revenue agent, which is the basis of the deficiency determination for 1921.  Petitioner owns 160 acres of land on the Columbia River, 25 miles from Wenatchee, Wash., all of which appears to have been acquired at or about the time of organization in 1909.  When *15  acquired, this tract of land included 8 acres of miscellaneous fruit trees, but principally apple and pear, about 13 years old, and 5 acres of Stayman Winesap apple trees about 4 or 5 years old.  During the next four years additional acreage was planted to apple and pear trees of less than a year to 3 years old, so that by the close of 1913 there were approximately 80 acres of fruit trees under cultivation and in various stages of maturity.  No additional acreage was planted*3623  after 1913.  Some part or all of the expenses incurred incident to bringing the orchard trees to the bearing stage have been charged off as expenses on the books, concurrently with the expenditures, so that at the beginning of the taxable year in question the only asset account carried on the books reflecting the cost of development of the orchard was "Orchard Costs," in the amount of $992.81.  In the vicinity in which petitioner's orchard is located, apple trees begin to bear fruit the fourth year after planting, but do not produce commercial crops, as a general average, until the twelfth year after planting.  The maximum bearing is reached about the eighteenth year and maintained to the twenty-eighth year.  After the twenty-eighth year the trees can not be economically used in production, as the expense of cultivation and upkeep generally equals or exceeds the revenue from the crop.  The useful life of an apple tree in this vicinity is 17 years, beginning with the twelfth and ending with the twenty-eighth year after planting.  Commercial crops are produced by the Bartlett and Sickle pear trees the eighth year, and by the D'Anjou pear the twelfth year after planting.  Bartlett and*3624  Sickle pear trees reach maximum bearing capacity about the twelfth to fourteenth year after planting, and the D'Anjou pear trees with the eighteenth year after planting; and maximum bearing is maintained to about the twenty-fifth year.  The useful life of Bartlett and Sickle pear trees is 18 years, beginning with the eighth and ending with the twenty-fifth year after planting, and that of the D'Anjou pear tree is 14 years, beginning with the twelfth and ending with the twenty-fifth year after planting.  For 1921 respondent allowed a deduction for depreciation of orchard trees, in the amount of $29.78, based on a life of 33 1/3 years and a total cost of $992.81.  OPINION.  LANSDON: Petitioner alleges error on the part of respondent in computing its net income for the year under consideration, in accordance with the accrual method of accounting.  It contends that it is privileged to adopt any method of accounting which clearly reflects its income; that it is entitled to compute its net income in accordance with the receipts and disbursements method or the *16  accrual method.  Respondent answers that petitioner's books of account were kept in accordance with the accrual method*3625  of accounting, and that under the provisions of section 212(b) of the Revenue Act of 1921 the net income must be computed in accordance with that method for the purpose of the tax.  The provisions of section 212(b) of the Revenue Act of 1921 are controlling in the decision of this issue, and, so far as material here, are as follows: The net income shall be computed upon the basis of the taxpayer's annual accounting period * * * in accordance with the method of accounting regularly employed in keeping the books of such taxpayer * * *.  There can be no question but that a taxpayer is privileged to adopt any method of accounting which it deems necessary for its business and that truly reflects its income.  The statute contemplates that each taxpayer shall adopt such forms and methods of accounting as are in its judgment best suited to its purposes.  Having adopted a particular method of accounting, and regularly employed that method in keeping its books, the statute requires that the taxpayer shall compute its net income, for the purposes of the tax, in accordance with that method, if income is clearly reflected thereby.  The evidence leaves no room for doubt as to the method*3626  of accounting regularly employed by this petitioner in keeping its books of account for the year under consideration.  The testimony of its own witnesses and of the revenue agent, and the books which are in evidence, establish very conclusively that the books were kept in accordance with the accrual method of accounting.  There is no ground for the contention, advanced by counsel for petitioner in the brief filed after the hearing, that the accrual items included in the annual balance sheets were placed there for memorandum purposes only.  Our examination of the books discloses that the petitioner maintains, as a part of its regular system of accounts, such accounts as accounts and bills receivable, accounts and bills payable, inventories, and accrued interest, all of which are necessary under the accrual method of accounting and which certainly have no place in a system of accounts based on the cash receipts and disbursements method, and that the income and expenses reflected by these accounts have been carried through the nominal income and operating accounts to profit and loss account, where they are reflected in the net earnings of the company.  The only deduction that can be drawn*3627  from these facts is that the petitioner regularly employed the accrual method of accounting in keeping its books.  The character of the risks and hazards of a business does not always suggest or require the employment of a particular method of accounting, nor alone prove that any one method of accounting is less adequate than another of clearly reflecting income.  The petitioner *17  was at liberty to employ any method of accounting which it deemed best suited to its purposes.  It chose to employ the accrual method, and the evidence does not justify a conclusion that the income is not clearly reflected by that method.  Having employed the accrual method of accounting in keeping its books, the statute leaves the petitioner with no other alternative than that of computing its net income in accordance with that method.  When the petitioner filed its returns of income, computed in accordance with the receipts and disbursements method, it did so in direct contravention of the plain requirements of the law.  The action of the respondent, of which complaint is made, was to remedy the petitioner's own error, and must be sustained.  The petitioner's claim that a certain amount overpaid*3628  as tax for 1920 should be credited against any deficiency which we may redetermine for 1921 relates to a purely administrative matter not within the jurisdiction of the Board.  A correct application of the payment by the petitioner of $171.51 is within our jurisdiction since it affects the deficiency for the year in question.  An examination of the record discloses, however, that the Commissioner has properly applied this item.  Based upon the return, without consideration of any payment, there was a deficiency for 1921 in the amount of $3,956.83, which the Commissioner reduces by the amount of $171.51 and thereby determines that the deficiency here in issue is $3,785.32.  Obviously the petitioner has already received credit for the payment of $171.51 against his tax liability for the year in controversy.  On this point the action of the Commissioner is approved.  Petitioner complaints that the deduction allowed by the respondent for depreciation of orchard trees is inadequate, because it is based upon a purported cost which is far less than the actual cost of bringing its orchard to the productive stage.  It is alleged that the major part of the costs of planting, cultivation, and*3629  of bringing the orchard to the productive stage has been charged as expenses on the books, as paid or incurred, so that at the beginning of the taxable year the only asset account carried on the books reflecting the cost of development was "Orchard Costs," in the amount of $992.81.  Te deduction for depreciation of orchard trees, which respondent has allowed, is based upon this sum of $992.81, and an estimated life of 33 1/3 years.  The petitioner contends that the cost of bringing the orchard to the productive stage was not less than $24,000, and that the depreciation allowance should be based upon that figure.  Section 214(a) of the Revenue Act of 1921 provides: That in computing net income there shall be allowed as deductions: * * * (8) A reasonable allowance for the exhaustion, wear and tear of property used in the trade or business, including a reasonable allowance for obsolescence.  *18  In the case of such property acquired before March 1, 1913, this deduction shall be computed upon the basis of its fair market price or value as of March 1, 1913.  The 80 acres of land on which the orchard stands were acquired as a part of a larger tract at or about the time of*3630  organization in 1909.  When acquired, the tract included 8 acres of miscellaneous fruit trees, principally apple and pear, about 13 years old, and 5 acres of Stayman winesap apple trees about 4 or 5 years old.  During the ensuing four years, petitioner planted additional apple and pear trees, so that by the close of 1913 there were approximately 80 acres of fruit trees under cultivation and in various stages of maturity.  No more acreage was planted after that year.  The record does not disclose the exact situation as to the stage of planting which had been reached on March 1, 1913; but it would appear from the facts that planting of the entire 80 acres was well-nigh completed on that date.  Thereafter, the petitioner incurred expenses of bringing the orchard to a productive stage.  Under these circumstances it appears clear that the basis for computing the depreciation allowance of this petitioner is the fair market price or value of such of the orchard trees as had been planted on March 1, 1913, plus the costs incurred after that date in planting additional acreage and bringing the orchard to the productive stage.  The record is void of any evidence bearing upon the March 1, 1913, value*3631  of petitioner's orchard.  The evidence adduced at the hearing is directed solely to establishing the probable cost of bringing the orchard to the productive stage.  Admitting, without deciding, that this cost amounted to $24,000, there is no evidence as to the proportions incurred, respectively, prior to and after March 1, 1913; although it seems quite certain that the major part thereof must have been incurred prior to that date during years when the orchard was being set out.  We are then without any evidence of the fair market price or value, as of March 1, 1913, of such of the trees as had been planted on that date, and of the costs incurred after that date in planting additional acreage and bringing the orchard to the productive stage.  It may be that the costs incurred to March 1, 1913, are a fair index of the fair market price or value of the orchard trees on that date, in which event the basis for computing the depreciation allowance would be the equivalent of the total costs incurred in bringing the orchard to the productive stage; but we are not in possession of any facts upon which we could predicate such a conclusion, and, therefore, on this point we can decide only that*3632  the petitioner is entitled to increased depreciation allowance on orchard cost of $992.81, on the basis of a useful life of its orchard of 18 years.  Judgment will be entered under Rule 50.